Case 2:18-cr-00579-GJP Document 387 Filed 02/03/22 Page 1 of 9


                     UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA,              )    18-cr-579-2
                                       )
      vs.                              )
                                       )    Philadelphia, PA
ARTHUR ROWLAND,                        )    November 4, 2019
                                       )    10:06 a.m.
                                       )
         Defendant.                    )
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                  TRANSCRIPT OF SUPPRESSION HEARING
               BEFORE THE HONORABLE GERALD J. PAPPERT
                    UNITED STATES DISTRICT JUDGE

APPEARANCES:

For the Government:           PAUL SHAPIRO, ESQUIRE
                              U.S. ATTORNEY’S OFFICE
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                              Suite 1250
                              Philadelphia, PA 19106-4476

For the Defendant:            GUY R. SCIOLLA, ESQUIRE
                              GUY R. SCIOLLA ATTORNEY AT LAW
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     Case 2:18-cr-00579-GJP Document 387 Filed 02/03/22 Page 2 of 9

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 1                                   I N D E X

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 4   Colloquy with Counsel                                        3

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     Case 2:18-cr-00579-GJP Document 387 Filed 02/03/22 Page 3 of 9

                                     Colloquy                               3

1           (The following was heard in open court at 10:06 a.m.)

2                THE COURT:    Mr. Shapiro, how are you?       Mr.

3    Schlessinger?

4                MR. SHAPIRO:     Good morning, Your Honor.

5                THE COURT:    Agent, how are you?

6                AGENT:    I’m fine, thank you.

7                THE COURT:    Good.    Nice to see you.     Okay, I’ve read

8    everything, I’m ready to go.        Who wants to start?

9                MR. SCIOLLA:     Judge, we’re gonna withdraw the

10   motion.

11               THE COURT:    All righty.

12               MR. SCIOLLA:     We’re gonna withdraw the motion, and

13   also Mr. Rowland is prepared to accede to the continuance

14   motion with regard to the new trial date of January 6th.          So

15   we can put that on the record, if you want to have it that

16   day.

17               THE COURT:    When did you make the decision to

18   withdraw the motion?

19               MR. SCIOLLA:     This morning.

20               THE COURT:    Okay.

21               MR. SCIOLLA:     Sorry.

22               THE COURT:    Sorry?

23               MR. SCIOLLA:     That’s not good enough?

24               THE COURT:    No.   Not really.

25               MR. SCIOLLA:     Strategically, Judge, it’s just
     Case 2:18-cr-00579-GJP Document 387 Filed 02/03/22 Page 4 of 9

                                                                              4
1    something that we had to decide, and that’s the decision that

2    we --

3                THE COURT:    How much did you think that through

4    before you filed the thing and caused the Court to spend a

5    number of hours working on it?

6                MR. SCIOLLA:     Well, we thought about it, Your Honor,

7    for some period of time prior to that filing, and then again

8    thereafter.     But I had a filing date deadline so I had to

9    comply with that, and I did so.

10               THE COURT:    So what changed after you filed it?

11   What legal analysis did you come up with that was different?

12   What case --

13               MR. SCIOLLA:     Something --

14               THE COURT:    -- handed down by the Supreme Court

15   materially changed it?

16               MR. SCIOLLA:     Your Honor, not anything that came

17   down by the Supreme Court, but with an eye towards what might

18   come up at trial, it was decided that it would be in my

19   client’s best interest to not proceed with the motion.           There

20   may be trial issues that otherwise would be affected by the

21   outcome of the trial -- of the motion, and the hearing.          So

22   that was the decision that --

23               THE COURT:    All right.     So you don’t purport to try

24   to reserve an ability to raise this again, do you?

25               MR. SCIOLLA:     No, Your Honor.
     Case 2:18-cr-00579-GJP Document 387 Filed 02/03/22 Page 5 of 9

                                                                            5
1                THE COURT:    All right.     So we’ll I guess deny the

2    motion with prejudice.

3                MR. SCIOLLA:     Well, if it’s withdrawn, Judge, I

4    don’t know how you can deny it.        I guess you could deny my

5    right to re-file, but --

6                THE COURT:    I’ll figure it out.

7                MR. SCIOLLA:     -- I’m not asking for a substantive

8    decision on the motion.

9                THE COURT:    What about if I’m prepared to give you

10   one?

11               MR. SCIOLLA:     I don’t know that you can force the

12   defendant to go forward with a motion that he withdraws.

13               THE COURT:    I don’t know, I’ve read it.        I have some

14   impressions.

15               MR. SCIOLLA:     Well, I think the ultimate option

16   belongs to the accused.

17               THE COURT:    What do you think?

18               MR. SHAPIRO:     I’m not sure it so much has to do with

19   there being a defendant, the defendant being a defendant, I

20   mean in terms of filing a motion, the defendant’s a party

21   before the Court like any other party.          I really think it more

22   has to do with the Court’s view of deciding issues that are no

23   longer alive.

24               THE COURT:    Hum.   Okay.

25               MR. SCIOLLA:     I don’t -- with all due respect,
     Case 2:18-cr-00579-GJP Document 387 Filed 02/03/22 Page 6 of 9

                                                                           6
1    Judge, I don’t think the Government can force the defendant to

2    litigate a motion.

3                THE COURT:    I didn’t ask him to, and he’s not asking

4    me to.

5                MR. SCIOLLA:     Okay, all right.

6                THE COURT:    Okay.    So, what’s left now?

7                MR. SCIOLLA:     Just an accession to the -- there was

8    a motion to continue the trial date, which was today, and --

9                THE COURT:    Did we have all that -- that’s already

10   taken care of.

11               MR. SCIOLLA:     Right.   There’s a new date of January

12   -- I just found out today.        I didn’t get a copy from the

13   Clerk’s Office.     I do have a copy now from Mr. Lucini.

14               THE COURT:    There’s a motion -- Jeff, didn’t we

15   already extend the trial date?

16               MR. SCIOLLA:     I think you asked Mr. Coleman to file

17   in our telephone conference.

18               THE COURT:    Right.

19               MR. SCIOLLA:     And then you asked -- you suggested

20   that we today would join in that motion to do so, personally

21   from you.

22               THE COURT:    Okay.

23               MR. SCIOLLA:     And that’s what Mr. Rowland prepared

24   to do today so --

25               THE COURT:    Okay.    Do we have a speedy trial issue
     Case 2:18-cr-00579-GJP Document 387 Filed 02/03/22 Page 7 of 9

                                                                              7
1    or is it complex?

2                THE CLERK:    We’re good.

3                THE COURT:    We’re good now, with Mr. Rowland’s

4    waiver?    So he’s waiving any speedy trial issues?

5                MR. SCIOLLA:     Cr.

6                THE COURT:    Okay.     Does anybody have anything else

7    today?

8                MR. SCIOLLA:     I have one other question, Judge.     I

9    noticed in the scheduling order that there’s a pretrial

10   conference for the 16th of December.

11               THE COURT:    This is the new schedule?

12               MR. SCIOLLA:     Yes, sir.

13               THE COURT:    Okay.

14               MR. SCIOLLA:     I received it today.      Would I be able

15   to participate in that, Judge, by way of phone?           I don’t think

16   I’ll have any pretrial issues before that.

17               THE COURT:    That’s up to you and your client.

18               MR. SCIOLLA:     Okay.   Because I won’t be here --

19               THE COURT:    If you want to phone it in literally and

20   figuratively, you can go ahead and do that.

21               MR. SCIOLLA:     Yes.    I won’t be in the city, that’s

22   the only problem.

23               THE COURT:    Okay.     Well, we’re gonna have the

24   conference.     You decide how you best want to proceed.

25               MR. SCIOLLA:     Well, I appreciate the Court’s
     Case 2:18-cr-00579-GJP Document 387 Filed 02/03/22 Page 8 of 9

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1    courtesy in that regard.

2                THE COURT:    Sure.

3                MR. SCIOLLA:     Thank you, Your Honor.

4                THE COURT:    All right.     Then I guess we’re

5    adjourned.

6                MR. SCIOLLA:     Yes, sir.

7                THE COURT:    We’ll enter the appropriate order.

8                THE CLERK:    All rise.

9         (Proceeding concluded at 10:11 a.m.)

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     Case 2:18-cr-00579-GJP Document 387 Filed 02/03/22 Page 9 of 9

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 1                         C E R T I F I C A T I O N

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 3         I, Sandra Carbonaro, court approved transcriber,

 4   certify that the foregoing is a correct transcript from the

 5   official electronic sound recording of the proceedings in the

 6   above-entitled matter.

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10       /s/Sandra Carbonaro

11   SANDRA CARBONARO

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13   Diana Doman Transcribing, LLC                     02/02/22

14   AGENCY                                        DATE

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